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 FILED - USDC -NH
                                    UNITED STATES DISTRICT COURT
 2022 AUG 25 pm3:51
                                     DISTRICT OF NEW HAMPSHIRE


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Plaintiff(s)                                   }
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                                               }
Defendant(s)                                   )


                                          Parties to this Complaint

Plaintiff(s)'s Name, Address and Phone Number

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Defendant(s)'s Name, Address and Phone Number
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                                           Jurisdiction and Venue:
              (Explain why your case is being filed in federal court and why the court is legally
                      permitted to hear your case. Add additional sheets as necessary.)



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                                             Statement of Claim:
  (As briefly as possible, state each claim you have against defendant(s) and state the legal cause of action,
        facts, and circumstances that gave rise to your claim(s). Add additional sheets as necessary.)

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                                    Relief Requested from the Court:
     (Briefly state exactly what you want the Court to do for you. Add additional sheets as necessary.)




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                  Case 1:22-cv-00329-SE Document 1 Filed 08/25/22 Page 5 of 5




                                                    Jury Demand

■p Check this box if you axe requesting a jury trial (if you want a jury of your peers to decide your case).

□ Check this box if you are NOT requesting a jury trial (if you want the assigned judge to decide your case).



Date:
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Signature:                                    £1
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